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EXHIBIT D
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                      AD HOC REVIEW PANEL




         REPORT OF REVIEW OF CONCEPTION AND
            PRODUCTION OF VOL. 12 OF THE
           JOURNAL OF SCHENKERIAN STUDIES


                             NOVEMBER 25, 2020

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   Executive Summary

   This is a report by the five-member Ad Hoc Journal Review Panel, comprised of UNT faculty
   members outside of the College of Music, who are current or former editors of scholarly
   journals. The panel was charged with examining the processes followed in the conception and
   production of Volume 12 of the Journal of Schenkerian Studies (JSS), especially whether the
   standards of best scholarly practice were followed. Further, the panel was to make
   recommendation to improve editorial processes, where warranted.

   After an extensive review of documents and interviews of eleven (11) individuals, including
   the principals involved in the conception and publication of Volume 12, the panel identifies
   significant problems with the editorial management structure of JSS as well as with the review
   processes employed by the journal for the special section in Volume 12.

   In sum, we do not find that the standards of best practice in scholarly publication were
   observed in the production of Volume 12 of the JSS. The panel recommends

   1. Changing the editorial structure of JSS
   2. Making clear and transparent all editorial and review processes
   3. Defining clearly the relationships between the journal editorial team and the editorial board,
      MHTE, and the UNT Press.




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                Report of the Journal of Schenkerian Studies Ad Hoc Review Panel



   The Panel’s Charge

   The Ad Hoc Journal Review Panel is comprised of five faculty members who either currently
   serve, or have served, as scholarly journal editors. Members are: Jincheng Du, Professor of
   Materials Science and Engineering and Editor of the Journal of American Ceramic Society;
   Francisco Guzman, Professor of Marketing and current Coeditor-in-Chief of the Journal of
   Product & Brand Management; John Ishiyama, University Distinguished Research Professor
   of Political Science and former Editor-in-Chief of the American Political Science Review and
   the Journal of Political Science Education; Matthew Lemberger-Truelove, Professor of
   Counseling and current Editor of the Journal of Counseling & Development; and Jennifer
   Wallach, Professor of History, Chair of the Department of History and former Editor of History
   Compass.

   On August 6, 2020, we received an email from Provost Jennifer Cowley that invited the
   members of the panel (all of who are faculty members from outside of the University of North
   Texas College of Music) to serve. In that email the Provost stated that the purpose of the panel
   was to examine “objectively the processes followed in the conception and production of Volume
   12 of the Journal of Schenkerian Studies (JSS). The panel will seek to understand whether the
   standards of best practice in scholarly publication were observed and will recommend strategies
   to improve editorial processes where warranted.” (Exhibit 1).


   Our panel met with Provost Jennifer Cowley on August 12, 2020. At that meeting we were
   formerly charged by the Provost. This report includes a review of the managerial, editorial, and
   review processes employed by the JSS, and an examination of how those practices related to
   the production of Volume 12.


   Background Information & Scope of Review

   Given that the panel’s charge was provided to the complete panel on August 14, 2020 (Dr.
   Francisco Guzman was added to the panel on that date) and that the Fall semester began on
   August 24, the panel members agreed to have our first organizational meetings after the
   semester began. Our first meeting was held on September 1, 2020. Between September 1 and
   October 15, we interviewed a total of eleven (11) individuals who had knowledge about the
   production of Volume 12, as well as of the general editorial and review processes employed by
   the journal. These included the journal’s most recent editors (Dr. Benjamin Graf and Mr. Levi
   Walls), members of the editorial advisory team (Dr. Timothy Jackson and Dr. Stephen Slottow),
   representatives of the UNT Press (Mr. Ron Chrisman and Ms. Karen DeVinney) 1, the Division
   Head of Music History, Theory, and Ethnomusicology (hereafter referred to as MHTE) (Dr.
   Benjamin Brand), and the Dean of the UNT College of Music (Dr. John Richmond). Further,

   1
       The UNT Press publishes the Journal of Schenkerian Studies.
                                                  3

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   we interviewed three former members of the JSS editorial board (Dr. Ellen Bakulina and Dr.
   Diego Cubero) both faculty members of the UNT College of Music, and Dr. Graham Hunt,
   Professor and Associate Chair of Department of Music at the University of Texas at Arlington.
   All interviews were conducted virtually, via ZOOM. The panel also reviewed documents that
   were shared by the interviewees.

   Our Review

   To begin, we first reviewed the concerns expressed about the journal’s editorial and review
   processes raised in public statements issued by three different groups:

          1) the statement issued by the Executive Board of the Society of Music Theory (SMT)
          https://societymusictheory.org/announcement/executive-board-response-journal-
          schenkerian-studies-vol-12-2020-07; (Exhibit 2)

          2) the statement of a group of graduate students from the Division of MHTE
          https://drive.google.com/file/d/1PekRT8tr5RXWRTW6Bqdaq57svqBRRcQK/view?sh
          ow_popup=false; (Exhibit 3)

          3) a statement in support of the graduate student statement made by faculty members of
          the Division of MHTE https://www.ethnomusicology.org/news/519784/Statement-of-
          UNT-Faculty-on-Journal-of-Schenkerian-Studies.htm. (Exhibit 4).

   We examined these statements because they appeared to be representative of the broader public
   concerns expressed about the JSS Volume 12 and were the first to be publicly issued since its
   publication. These statements were authored by the major professional society of Music Theory
   (the executive board of SMT), and graduate students and faculty members from the Division of
   MHTE. The SMT statement reflects the reaction of the leadership of the profession, and the
   statements by the UNT MHTE faculty and graduate students represents the concerns of
   members of the UNT community familiar with music theory and the JSS.

   All three statements raised serious concerns about the editorial and review practices employed
   by JSS. Given that our panel’s charge was to focus on the concerns expressed about the editorial
   and review processes employed by the journal, we structured our review around three issues:1)
   whether the journal’s editorial team subjected submissions to Volume 12 to a process of peer
   review consistent with the standards of best practice in scholarly publication; 2) the
   circumstances surrounding the journal’s publication of an anonymously authored contribution;
   and 3) the circumstances surrounding the JSS’s decision not to invite the individual whose
   presentation at the SMT conference was the subject of Volume 12, Dr. Phillip Ewell, to respond
   in the symposium to the essays that discussed his work.

   Report Structure

   We report the results of our review in four sections:

      •   the general editorial and review processes employed by JSS;
      •   the editorial and review processes used for Volume 12;

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       •   the process that led to the publication of an anonymously authored contribution; and
       •   the decision not to invite the scholar whose presentation was the topic of part of Volume
           12 to respond to the essays that discussed his work



   The Current Editorial Structure and General Review Processes

   To assess whether the editorial and peer review processes employed by JSS meet “standards of
   best practice in scholarly publication” (as stated in the panel’s charge) it is important to outline
   the current editorial managerial and review processes used by JSS.


   JSS Managerial Structure

   Based upon our review of the journal’s website (https://mhte.music.unt.edu/journal-
   schenkerian-studies), which only describes the submission process, and our interviews with the
   editors and the editorial advisory board, the journal’s managerial structure includes an editor,
   [previously Dr. Benjamin Graf, who was to be succeeded by Levi Walls], an “editorial advisory
   board” comprised of Dr. Jackson and Dr. Slottow, who provide “guidance” for the journal, and
   an editorial board made up of scholars in the field who are often asked to review manuscripts.
   The editorial board has no supervisory role and is not provided with annual journal status reports.
   It appears that its function is to provide a pool of potential reviewers for submitted manuscripts.

   The editor of the journal has always been a graduate student, except Benjamin Graf, who was a
   graduate student when he started the editor of JSS in 2014 and earned his PhD from UNT MHTE
   in May 2016 and is currently employed as a Lecturer by the Division. Although the justification
   as provided by the editorial advisors was that JSS is a “student run journal” (although Dr. Ben
   Graf was appointed as a UNT Senior Lecturer in Fall 2017 and was therefore not a student for
   volume 12) which is designed to provide editorial experience for graduate students, Dr. Slottow
   and Dr Jackson stated that the journal actually publishes mostly works from established scholars
   rather than students. The panel was told that the student-editors largely made all decisions
   regarding publication of manuscripts.

   It appears that historically all the editors of JSS have been students of Dr. Jackson. The editors
   who were interviewed by the panel reported that they were uncomfortable in making decisions
   and recommendations that ran counter to the preferences of Dr. Jackson, their major faculty
   advisor. In part, Dr. Graf and Mr. Walls said to us that this situation made it difficult to raise
   objections relating to concerns about the submissions to the symposium section of Volume 12. 2
   According to the editors, as well as to Dr. Slottow, Dr. Jackson “took the lead” on this section


   2
     Dr. Jackson said that this portion of Vol 12 is “like a commentary” section in his meeting with
   our panel. However, this was not called a commentary section when the volume was published.
   Rather, in the table of contents the section containing the pieces about Dr. Ewell’s talk are
   labeled “symposium” (Exhibit 5). The panel notes there is no special marker in Volume 12,
   including in the symposium section, that designates any piece as a “commentary.”
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   in Volume 12. 3 Drs. Slottow and Jackson said that this was the first time the journal had
   published such a special section. 4

   JSS General Review Process

   In terms of the general review processes used by JSS, no written processes for review were
   provided to the panel and after questioning the editors, no such document exists. However, the
   editors and editorial advisors described the general review process as involving recruiting two
   reviewers (sometimes from the editorial board but at times recruited from outside the editorial
   board) who would provide a report to the editors and then a decision was made whether to
   accept, reject, or invite a revise and resubmission of the piece. Dr. Graf told the committee that
   rejection was a very rare occurrence.

   No documents were provided that described the normal review process, although Dr. Jackson
   provided us with a collection of emails that he said outlined the review process for what he
   referred to as the “commentary” section of Volume 12. These emails however only generally
   discussed the special section in Volume 12 and did not lay out specifically the review
   procedures to be employed for these essays.

   The Editorial and Review Processes Employed for Volume 12

   As to the review process employed for Volume 12, Dr. Jackson told us that this type of special
   section had never been done by JSS before. 5 Volume 12 also included three “regular” articles
   (a term used by Dr. Graf), which had been peer reviewed and were scheduled to be published
   in Volume 12. The processing of these articles had been completed by November 2019. For
   these three articles, Dr. Graf was designated as the editor. For the special section (referred to as
   a symposium in the table of contents for Volume 12), Levi Walls was designated as the editor.

   The “Special Section” of Volume 12

   In our discussion with Drs. Jackson and Slottow, both said they felt the need to include articles
   responding to “attacks” on Schenkerian scholars by Dr. Ewell in his plenary talk at the SMT
   conference, and that JSS was the appropriate venue for such responses. In explaining this
   decision, both Dr. Jackson and Dr. Slottow noted that unlike prior plenaries at SMT where a

   3
     In his interview with the panel, Dr. Jackson repeatedly referred to the section as a
   “commentary” section suggesting that this meant that the essays did not require peer review.
   Yet in the email correspondence sent by him to others discussing this section, prior to our
   interview with him, the term “symposium” or “symposia” is mentioned 22 times, but the term
   “commentary” is not mentioned at all.
   4
     There had been previous volumes where the entire volume was dedicated to a special topic,
   but not a section of a regular volume. For purpose of this report, the term “special section” will
   be used to refer to the section of Volume 12 containing the essays that respond to Dr. Ewell’s
   presentation. Where pertinent, the report will use the words “symposium” and “commentary.”
   5
     Commentary sections vary from journal to journal, but they generally involve commentaries
   provided about articles that are published by the journal. A symposium on the other hand refers
   to a section of a journal that includes several short articles built around a particular topic.
                                                    6

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   question and answer session was held after the talk was completed, no such session occurred
   after Dr. Ewell’s talk. Thus, they said they believed that it was necessary that a response be
   made to Dr. Ewell’s talk as soon as possible, and that those responses should appear in JSS.
   According to Benjamin Graf, who was then editor of JSS, three (3) “normal” articles had already
   been completed or nearly completed by December, which would have been the normal number
   of articles published in a journal volume. 6

   However, Dr. Jackson said that after Dr. Ewell’s talk, he believed it necessary to include
   responses to the talk in Volume 12. Thus, a special call for submissions that would respond to
   Dr. Ewell’s talk was distributed at the end of December 2019, and an expedited process was
   initiated to process the submissions quickly. The deadline set in the call for submissions was
   January 20, 2020. (Exhibit 6). In short, a call for contributions was made at the end of December,
   with the intention of completing the entire process by March 2020, (i.e., within roughly three
   months).

   The Editorial and Review Processes

   Mr. Levi Walls, who was slotted to succeed Dr. Graf as editor, was charged with editing the
   special section of Volume 12. Mr. Walls reported that the pieces that were published as part of
   this section were not subject to peer review, and this was confirmed by Drs. Graf, Slottow, and
   Jackson. Dr. Jackson stated that since the pieces were meant to be “commentaries” and not
   “normal articles,” they did not require peer review. He explained that peer review was
   unnecessary because: 1) the contributors were all very notable scholars in the field and their
   reputations were sufficient to guarantee the quality of the contributions; 7 and 2) all of the editors
   (which we understand to mean Drs. Jackson, Slottow, Walls, and Graf) read every piece
   suggesting that these contributions were “editor reviewed.”




   6
     According to the representatives of the UNT Press, Ron Chrisman and Karen DeVinney the
   deadline for the UNT Press to receive articles for publication in Volume 12 was March 2020.
   7
     According to Levi Walls, the standard used to assess the quality of the contributions in the
   special section of Volume 12 was the reputation of the author of the contribution. In other words,
   other normally used criteria for evaluation of contributions to JSS were not used for the special
   section. Mr. Walls shared with us an excerpt from an email where Dr. Jackson responded to
   questions about the review process for the contributions to the special section:


           "The majority of the authors are well-known, highly seasoned scholars, ranging
           from the Chair of the Harvard Music Department to the authors of books on
           Schenker and Schenkerian analysis. If you want to use the word "vetting" in this
           context of allowing distinguished scholars to communicate their views, then you
           can say that the respondents were "vetted" on the basis of their academic
           qualifications. The distinguished pedigrees of the contributors is supported by
           their short biographies at the end of the issue."


                                                     7

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   However, Dr. Graf and Dr. Slottow said that they did not read every contribution. Both said
   they only read a few, in contrast to the claim made by Dr. Jackson that all the editors read every
   contribution.

   Levi Walls informed the panel that he read each piece but had multiple concerns, as the editor,
   about proceeding with several of the contributions. He said he shared these concerns with Dr.
   Benjamin Brand (the Division Head of MHTE) and Dr. Graf, and then directly with Dr. Jackson.
   However, he said these concerns were dismissed by Dr. Jackson. 8

   Mr. Walls reported to the panel that he raised concerns to Dr. Jackson about the content of the
   pieces as well as the quality of writing in February 2020. He stated that after raising concerns,
   he was taken into Dr. Jackson’s car, where Dr. Jackson told him that it was not his “job to censor
   people” and was told not to do it again. He said Dr. Jackson told him that since these were senior
   scholars, their reputations were enough to vet them. Dr. Graf confirmed that Levi Walls shared
   information about his encounter with Dr. Jackson around the time of its occurrence. This was
   followed by the final decision, made by Dr. Jackson (according to both Dr. Graf and Mr. Walls)
   to proceed with the publication of several of the pieces without substantial modifications.

   Publication of Submissions by Dr. Jackson and Dr. Slottow


   Both Dr. Jackson and Dr. Slottow contributed pieces to the special section of Volume 12. When
   asked about precautions taken to prevent a potential conflict of interest that arose with the
   publication of papers by Dr. Jackson and Dr. Slottow in Volume 12 (since Dr. Jackson made
   the final decision on publication), none of the editors, nor the editorial advisors, could identify
   any special precautions employed to address these potential conflicts of interest.


   The Publication of an Anonymously Authored Contribution

   Our panel also reviewed the process that led to the publication of an anonymously authored
   contribution. The panel noted, first, anonymous contributions, although uncommon, are not
   unprecedented in academic journal publishing. Several notable examples exist historically. For
   instance, an article in an International Relations journal, Foreign Affairs, was authored by a
   person who was assigned the pseudonym “X” in 1947. 9 In 2000, in the field of Political Science,
   there was a contribution critical of the American Political Science Review authored by an
   individual using the pseudonym “Mr. Perestroika.” Although not an academic journal, an
   editorial in the New York Times last year, which was highly critical of the President Donald
   Trump administration, was purportedly written by an “insider” and was authored anonymously.
   Thus, there are some limited precedents where editors allow anonymously authored
   contributions.


   8
      Dr. Brand confirmed this meeting with Levi Walls when we interviewed him. Dr. Graf
   confirmed the existence of email communications between him and Mr. Walls about Mr. Walls’
   concerns.
   9
     The author later was identified as George Kennan, a United States diplomat.
                                                   8

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   The editorial advisory team of Drs. Jackson and Slottow apparently made the decision to
   proceed with publication of the anonymous piece. Levi Walls informed the panel that he raised
   concerns about this contribution with Dr. Jackson. The panel asked the editorial advisors the
   reason for allowing the publication of an anonymously authored contribution. Dr Jackson
   informed the panel that anonymity was granted because the author of that piece feared
   retaliation that would jeopardize the author’s career. He reported that the author was a junior
   scholar. 10

   Absence of Contributions from Dr. Ewell to the “commentary” section

   The panel asked the editors (Dr. Graf and Mr. Walls) and the editorial advisors (Drs. Jackson
   and Slottow) why Dr. Ewell was not invited to respond to the contributions in Volume 12, and
   whether that had been considered. All of them replied that inviting Dr. Ewell had not been
   considered until controversy arose concerning the volume in the summer of 2020. Only then
   did the idea emerge that perhaps Dr. Ewell could be invited to respond in Volume 13. However,
   that was not part of the original plan and was only considered as an option once the controversy
   over the contents of Volume 12 escalated.

   Further, both Dr. Jackson and Dr. Slottow said that they believed that since Dr. Ewell had been
   given an uninterrupted opportunity to express his viewpoints at the SMT conference,
   commentators on Dr. Ewell’s talk should also have the opportunity to express their views freely.
   Thus, Dr. Ewell was not invited for that reason. In retrospect, Dr. Slottow expressed regret about
   that decision.

   Findings

   After completing our review regarding the four concerns listed above, we find the following:

        1) In general terms, there are several structural problems with the editorial and review
           processes employed by the journal generally and Volume 12 specifically.

               a. There is a structural flaw in the power disparity between the JSS editor (a
                  graduate student or former graduate student) and the editorial advisor, Dr.
                  Jackson. In many ways this created a fundamental power asymmetry in the
                  management of the journal. This was acknowledged in an interview by Dr.
                  Slottow when he acknowledged that this “power imbalance” was a major
                  problem with the journal. This was also observed by the current journal editors
                  and other members of the editorial board
                  Indeed, since the editors were invariably students of Dr. Jackson, this made it
                  very difficult for the editors to contradict his wishes. Both the editors, Dr. Graf
                  and Mr. Walls, reported to us they felt unable to voice their concerns about the



   10
     The committee did not ask the name of the author and the committee was not provided any
   documents about the identity of the author.
                                                   9

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                   editorial process in general and that this was especially true for the “commentary”
                   section of Volume 12.

                   This arrangement also exposed the graduate student editors to potential negative
                   consequences, particularly if controversy arose over what was published (e.g.
                   Volume 12). The editor should not have been a graduate student, especially for
                   a potentially very controversial issue.

               b. There are no clear procedures that ensure that potential conflicts of interest in
                  the review process are avoided with regard to editor (or editorial advisor) self-
                  publication. As one widely known and authoritative organization that provides
                  guidance for journal editors and publishers, the Committee on Publication Ethics
                  (COPE 2019, 7), states, a “journal must have a procedure for handling
                  submissions from editors or members of the editorial board that will ensure that
                  the peer review is handled independently of the author/editor.” 11 Moreover,
                  COPE recommends that if an editor publishes in their own journal that the
                  process is clearly described in a note in the volume once the paper is published.
                  Given the structure of editorial management of the journal, the panel does not
                  believe that procedures to ensure the avoidance of conflicts of interest have been
                  adopted or followed in the publication of any volume of the JSS, including
                  Volume 12.

               c. There are no written procedures employed by JSS to ensure that transparent
                  review processes are conducted. This practice is not consistent with standards
                  for editorial management. COPE recommends that “all peer review processes
                  must be transparently described and well managed. Journals should provide
                  training for editors and reviewers and have policies on diverse aspects of peer
                  review, especially with respect to adoption of appropriate models of review and
                  processes for handling conflicts of interest, appeals and disputes that may arise
                  in peer review” (https://publicationethics.org/peerreview). There is no evidence
                  that this was the general practice employed at JSS, or the practice employed for
                  Volume 12.

        2) The editorial and review processes used for Volume 12.

               a. The special section for Volume 12 was conceived between late December 2019,
                  when a call for contributions was issued, and March (the planned date for

   11
     The Committee on Publication Ethics (COPE) is a nonprofit organization whose mission is
   to define best practices in the ethics of scholarly publishing and to assist editors, publishers, etc.
   to achieve this. COPE also has links with the Council of Science Editors, the European
   Association of Science Editors, the International Society of Managing and Technical Editors,
   the World Association of Medical Editors, Open Access Scholarly Publishers Association,
   Directory of Open Access Journals, and the Association of Learned and Professional Society
   Publishers. It is also used as guidelines for major university publishers such as Cambridge
   University Press and Oxford University Press.
                                                    10

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                  completion). No defined procedures for the special section were established.
                  This is unusual given that this was the first time such a section had been included
                  in JSS, and the editorial team knew, or reasonably should have anticipated, that
                  it would be controversial. There is no evidence that the editorial team engaged
                  in a careful deliberative process in laying out how such a special section would
                  be put together. Although in the experiences of members of the panel there is no
                  universal standard that governs procedures for journal special sections, the fact
                  that the editorial team had not carefully laid out a plan as to how to process
                  contributions, at the very least, indicates a lapse in judgment and decision
                  making.

              b. In the panel’s meeting with Dr. Jackson, he indicated that the symposium in
                 Volume 12 more closely reflects what is customarily understood as a
                 “commentary” section in academic journals. Although Dr Jackson contended
                 that the contributions in response to Dr. Ewell’s presentation are consistent with
                 commentary pieces, as noted in footnote 5 above, these pieces really were much
                 more like a symposium. Commentaries are generally seen as referring to papers
                 already published in the journal, not on topics such as that addressed in volume
                 12. 12 In any case, there is nothing to indicate that these contributions were part
                 of an a priori planned “commentary” section, but rather was a symposium.
                 Symposia in journals, at least the ones with which the expert panel are familiar,
                 are subject to peer review. This clearly did not happen in Volume 12.

                  There is a precedence in academic journal publishing for “editorial reviews,”
                  which is generally limited to Book Reviews. However, these require multiple


   12
      This finding is based on the panel’s experience as well as our review of “commentary”
   sections of numerous journals in a variety of academic fields. Although not a collectively
   exhaustive list, the following exemplify what is generally meant by the term. A commentary is
   defined by the journal Music Theory Online (an SMT publication) as “focused on a particular
   article or other published item” in the journal (https://mtosmt.org/docs/authors.html#Submit).
   This conceptualization of commentaries is shared across disciplines. A journal in health studies
   defines a commentary as “generally short, and usually blends scholarship and opinion that
   comment on a newly published article” by the journal (International Journal of Qualitative
   Studies on Health and Well-being https://www.ncbi.nlm.nih.gov/pmc/articles/PMC4789530/).
   Similarly a journal in the social sciences, the Journal of Inequalities and Applications, defines
   a commentary as a response to articles published in that journal or “short (2-3 pages maximum),
   narrowly focused articles that are responses of recently published articles that are interesting
   enough to warrant further comment or explanation.”
   https://journalofinequalitiesandapplications.springeropen.com/submission-
   guidelines/preparing-your-manuscript/commentary ). In many journals the commentaries are
   peer reviewed. In others, such as the latter, the commentaries are editor reviewed. What
   appeared in Volume 12 of JSS do not generally qualify as commentaries, at least in the sense
   of the way “commentary” is used in many scholarly journals with which the panel is familiar
   (including the American Political Science Review).
                                                  11

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                  members of the editorial team to agree to publication to ensure that conflicts of
                  interest do not jeopardize the integrity of the publication process.

                  However, in the case of the essays that commented on Dr. Ewell’s talk, there
                  appears to have been no peer or complete editorial review of the pieces
                  published. Although Dr. Jackson stated several times that all of the essays were
                  reviewed by all of the editors and editorial advisors, at least two of them said
                  they had not read all of the essays, and Levi Walls said he raised significant
                  concerns about several essays (including concerns about the content of the
                  essays and the quality of the writing) but those concerns were later dismissed
                  by Dr. Jackson. Only Dr. Jackson states that he reviewed all the pieces, but he
                  also said that his editorial criteria were the academic status and reputation of the
                  contributors. 13 This may be the criteria for inclusion in a newsletter or a
                  generally unreviewed electronic posting, but this is not an established or
                  accepted criterion for judging publishable merit in a reputable academic journal.

        3) The publication of an anonymously authored contribution.

               a. As noted above, Dr Jackson justified publication of an anonymously authored
                  piece because the author was fearful of retaliation. Regarding this situation,
                  COPE acknowledges that there are no clear guidelines as a journal publishing
                  standard regarding publishing anonymously. However, COPE observes that
                  publishing anonymously is typically not permitted by publishers because of
                  concerns about author transparency and because publishers believe that they
                  should publish in the highest ethical regard. This is also the panel members’
                  experience-- publishers do not favor publishing anonymously because of
                  concerns about author transparency. COPE acknowledges that in rare cases
                  papers can be published anonymously where an author is at risk of physical
                  danger or is in fear for his/her life if his/her name were to be published or
                  associated with specific criticism. COPE, however, acknowledges that a decision
                  to publish anonymously solely because of possible damage to the author’s career
                  is ultimately up to the editor, but cautions: “Is the editor confident that he/she is
                  knowledgeable in this specific discipline that he can make such an editorial
                  judgment?”           (https://publicationethics.org/case/anonymity-versus-author-
                  transparency).

               b. In the view of the panel the reasoning for this decision could have been
                  communicated to readers of JSS via an editorial note that explained the decision
                  to publish a contribution anonymously (without details that would compromise


   13
     The members of the panel are not aware of this criterion being used in determining whether
   submissions should be published in a journal, particularly one that represents itself as peer
   reviewed, unless Volume 12 contained a disclaimer stating that this volume was not peer
   reviewed (which it did not).
                                                    12

                                                                                       JACKSON000220
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                    the identity of the author). No such explanatory note was provided in Volume
                    12.


         4) Absence of invitation for Dr. Ewell to respond to the contributions to the “commentary”
            section.

                 a. Although generally it is a practice among the academic journals with which the
                    panel is familiar, that when there are specific sections of a journal that are
                    devoted to discussing a particular author’s works, the author whose work is
                    being discussed/critiqued is generally invited to provide a rejoinder. This does
                    not necessarily have to be in the issue in which the critique appears (although
                    that is a good editorial practice), the critiqued author should at least be afforded
                    the opportunity in the issue immediately following and should be informed of
                    that opportunity.

                 b. However, there is no indication that the journal editorial team intended on
                    inviting Dr. Ewell to provide such a rejoinder in the initial planning for the
                    “commentary” section of Volume 12. This was only discussed after the volume
                    was released in the Summer of 2020.


   In sum, based on the above, we do not find that the standards of best practice in scholarly
   publication were observed in the production of Volume 12 of the JSS.

   In addition to our findings above, the panel also notes that there appears to be no oversight
   mechanisms concerning the operations of JSS. The members of the JSS editorial board we
   interviewed reported that they have received no updates nor reports on the operations of the
   journal. These reports typically include the number of manuscripts received, the number
   processed, the average time for completion of reviews (including invitations to revise and
   resubmit pieces), the number of manuscripts accepted, average time for processing of accepted
   manuscripts and demographic characteristics of authors, as well as other information as required
   by the publisher or supervising professional society (or the university in this case). This is what
   is contained in a typical report, but such reports do not appear to exist. It is a common practice
   for many journals to provide such periodic reports.

   Recommendations

   The panel was also asked to make recommendations, where warranted. 14 Several individuals
   we interviewed stated that the JSS plays an important role in the field of Music Theory and is
   one of the only outlets for the publication of works employing Schenkerian analysis. The panel
   thus recommends continuation of the journal.

   However, we recommend that fundamental structural changes be made to the journal

   14
        The panel is aware there have been calls for the dissolution of JSS.
                                                     13

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         1. The journal implement the necessary reforms before another volume is published.
            These include:
               a. Changing the editorial structure
               b. Making clear and transparent all editorial and review processes
               c. Defining clearly the relationships between the editors of the journal and the
                   editorial board, MHTE, and the UNT Press.

         2. We do not believe that the current editorial management structure is viable or
            sufficient for a healthy academic journal. There should be an editor who is (or who
            are) a full-time faculty member, preferably a tenured faculty member. It is possible
            that a graduate student could act as “associate editor” or “editorial assistant”, thus
            continuing the functions of the previous “editor” position at JSS (to provide the
            student with professional experiences), but decisions regarding manuscripts should
            only be made by the faculty editor.

            We recommend that this editor be provided with a term in office of three years, with
            the possibility of renewal. This will help institutionalize editorial accountability.

            It may be worth considering selecting an editor (or perhaps co-editors) who is/are
            not a faculty member(s) in MHTE at UNT. We recommend that consideration be
            given for the possibility of an editor recruited from outside of MHTE and/or UNT.
            These measures will help reassure public audiences of UNT’s commitment to the
            reform of the journal.

         3. All procedures regarding peer review processes, and special sections, should be
            written down and made publicly available. Further procedures to avoid potential
            conflicts of interest should be clearly laid out (including precautions regarding editor
            self-publication).

         4. The editorial board should have oversight over the journal, and regular annual
            reports on the activities of the journal should be provided to the editorial board and
            the UNT Press. In addition, the term of office for editor should be fixed, after which
            time the UNT Press should review what has been accomplished during the term.
            Further, if a student editorial assistant is to be appointed at UNT, there should be
            frequent consultations regarding the graduate assistantship provided to the journal
            by MHTE, and related financial issues with the Division Head of MHTE.



   References

   Committee on Publications Ethics (COPE) 2019. GUIDELINES: A Short guide to ethical
   editing for new editors. At
   https://publicationethics.org/files/COPE_G_A4_SG_Ethical_Editing_May19_SCREEN_AW-
   website.pdf, accessed October 1, 2020.


                                                 14

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                                 Exhibits




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Firefox                                                                              https://outlook.office.com/mail/search/id/AAMkADY5YTExY2ZlLTYzN...
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           EXHIBIT 1
          Ad Hoc Panel Communication
          Cowley, Jennifer <Jennifer.Cowley@unt.edu>
          Thu 8/6/2020 4:55 PM
          To: Wallach, Jennifer <Jennifer.Wallach@unt.edu>; Ishiyama, John <John.Ishiyama@unt.edu>; Du, Jincheng <Jincheng.Du@unt.edu>; Lemberger-Truelove,
          Matthew <Matthew.Lemberger-truelove@unt.edu>; Dubrow, Jehanne <Jehanne.Dubrow@unt.edu>
          Dear Panel Members,

          First a thank you for agreeing to serve on the Ad Hoc Panel that will be convening next week. I will be sharing your charge when we meet
          on the 12 th.

          I am sharing with you the following statement that UNT has issued regarding the forma on of this panel.

          The University of North Texas is commi ed to academic freedom and the responsibility that goes along with this freedom. This dedica on is
          consistent with, and not in opposi on to, our commitment to diversity and inclusion and to the highest standards of scholarship and
          professional ethics.

          The university has appointed a ﬁve-member mul disciplinary panel of University of North Texas faculty experienced in the edi ng and
          produc on of scholarly journals. The panel members, who are outside the College of Music, will examine objec vely the processes followed in
          the concep on and produc on of volume 12 of the Journal of Schenkerian Studies. The panel will seek to understand whether the standards of
          best prac ce in scholarly publica on were observed, and will recommend strategies to improve editorial processes where warranted. Upon
          comple on of its inves ga on, the panel will issue a report to UNT Provost Jennifer Cowley. The report will be made public.

          The Journal of Schenkerian Studies has made many contribu ons to the understanding of music theory. We will con nue to oﬀer music
          theorists the opportunity to share and defend diverse viewpoints under the most rigorous academic standards and ethics.

          I wanted to alert you that the publica on of this journal volume has generated signiﬁcant media interest. While you have not speciﬁcally
          been named, should you be contacted by a member of the media, you can refer any inquiry to
                                                                                                           Jim.Berscheidt@unt.edu in University
             Communica ons.

             Sincerely,
             Jennifer Cowley, PhD
             Provost and Vice President for Academic Aﬀairs
             University of North Texas
          Jennifer.cowley@unt.edu
          940-565-2550




                                                                                                                                      JACKSON000224


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 EXHIBIT
 Case     2
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The Executive Board of the Society for Music Theory condemns the anti-Black
statements and personal ad hominem attacks on Philip Ewell perpetuated in
several essays included in the "Symposium on Philip Ewell's 2019 SMT Plenary
Paper" published by the Journal of Schenkerian Studies.




                                         ABOUT v        INTEREST CROUPS          PUBLICATIONS         CRANTS AND AWARDS v      DONATE


                              ANNUAL MEETINGS          EVENTS        COMMUNITY         JOBS        RESOURCES         MEMBERSHIP PORTAL




The Executive Board of the Society for Music Theory condemns the anti -Black statements and personal ad
hominem attacks on Philip Ewell perpetuated in several essays inclcded in the "Symposium on Philip Ewell's
2019 SMTPlenary Paper" published by the Journal of SchenkerianStudies.

The conception and execution of this symposium failed to meet the ethical, professional, and scholarly
standards of our discipline. Some contributions violate our Society's policies on harassment and ethics .

As reported l>yparticipants, the journal's advisory board did not subject submissions to the normal processes
of peer review, published an anonymously authored contribution, and did not invite Ewell to respond in a
symposium ,f essays that discussed his own work. Such behaviors are silencing, designed to exclude and to
replicate a culture of whiteness. These are examples of professional 'llisconduct, which in this case enables
overtly racist behavior. We humbly acknowledge that we have muc~ work to do to dismantle the whiteness
and systemic racism that deeply shape our discipline. The Executive Board is committed to making material
interventions to foster anti-racism and support BIPOCscholars in ocrfield, and is meeting without delay to
determine fcrther actions.


    •   Patricia Hall, President
    •   Robert Hatten, Past-President
    •   Gretchen Horlacher, Vice President
    •   Philip Stoecker, Secretary
    •   Jocelyn Neal, Treasurer
    •   Inessa Bazayev                                                                                      JACKSON000225

    •   Anna Gawboy
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EXHIBIT 3

I am sharing this statement on behalf of a cross-section of graduate students in the Division of Music
History, Theory, and Ethnomusicology (MHTE) at the University of North Texas, the
department which is responsible for publishing the Journal of Schenkerian Studies (JSS).

We are appalled by the journal's platforming of racist sentiments in response to Dr. Philip Ewell's
plenary address at the Society of Music Theory annual meeting in 2019. Furthermore, we condemn the
egregious statements written by UNT faculty members within this publication. We stand in solidarity
with Dr. Philip Ewell and his goals to address systemic racism in and beyond the field of music theory.

As graduate students at UNT, we are compelled to provide further context and to demand action to
effect meaningful change. We would like to make it clear that the JSS is not a graduate student
journal; since 2010 (Vol. 4), it has been run primarily by Drs. Timothy Jackson and
Stephen Slottow. Many of us recently discovered that the journal is presented as graduate-student
run in some contexts; in fact, there is little student involvement beyond copy-editing, and students
have absolutely no say in the content of the JSS. In fact, outside of the advisory board (and in particular
Dr. Jackson), we have no clear understanding of who oversaw the publication of the responses to the
plenary session. As we join the search for answers to these issues, we will be working both publicly and
privately to change every part of the MHTE Division and College of Music (CoM) at UNT that
allowed faculty to platform racism in our name.

To this end, we as UNT graduate students demand the Journal of Schenkerian Studies should
immediately take the following steps, and we call on the UNT College of Music and university at large to
ensure these steps are taken.

    1. Publicly condemn the issue and release it freely online to the public. Given the horrendous lack
    of peer review, publication of an anonymous response, and clear lack of academic rigor, this issue of
    the JSS should release an apology for its content and promote transparency by granting the public
    access to it. We believe that all contributors should be held fully accountable for their
    comments, which must not be hidden for the sake of the self-preservation of any involved
    parties. Furthermore, we must learn from these mistakes rather than attempt to erase them. By
    making this volume accessible to the public with a disclaimer from the CoM, we hope to enable all
    scholars to address this problematic “discourse.”
    2. Provide a full public account of the editorial and publication process, and its failures.
    Throughout the publication of this issue, significant irregularities occurred in the acceptance and
    solicitation processes, whether individuals with the title of editor were permitted to edit content,
    and how the contents of Issue 12 were approved by any responsible oversight process. JSS must
    make a public account of the process so individuals who intentionally subverted academic discourse
    can be held accountable by their respective institutions.

We also call on the University of North Texas and the UNT College of Music to take the following
   actions.

    1. Dissolve the JSS. The JSS has demonstrated that it does not meet the standards of a peer-
    reviewed publication. The publication of this issue demonstrates that the JSS, through its subversion
    of academic processes, is not in fact peer reviewed and lacks rigor. The basis of academic discourse
    is trust and authenticity, and the JSS has violated that trust. Without accountability and responsible
    scholarship, there is no reason for it to exist.




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    2. Critically examine the culture in UNT, the CoM, and the MHTE Division, and act to change our
    culture. UNT has gained a reputation as an institution with a toxic culture when it comes to issues of
    race, gender, and other aspects of diversity. Although we would like to imagine that these problems
    are behind us, the JSS has proven that our department’s culture remains toxic, and it needs to
    change. While we as graduate students are working to change the culture, the university must be a
    part of the solution. If institutional inertia impedes this change, UNT and the College of Music are a
    part of the problem, not the solution.
    3. Hold accountable every person responsible for the direction of the publication. This will
    involve recognizing both whistleblowers and those who failed to heed them in this process. This
    should also extend to investigating past bigoted behaviors by faculty and, by taking this into
    account, the discipline and potential removal of faculty who used the JSS platform to
    promote racism. Specifically, the actions of Dr. Jackson—both past and present—are particularly
    racist and unacceptable.

We sincerely apologize to Dr. Philip Ewell for these racist attacks on his scholarship and
character. We firmly support Dr. Ewell, and his call to critically examine the racial frameworks in
which Schenkerian analysis and other theories were developed. We gratefully acknowledge the push
for inclusion and diversity in academia, and his continued work for diversity and anti-racism in the field
of music theory, which he advocated for in his 2019 SMT plenary address. In the weeks, months, and
years ahead, we will strive to change the toxic culture at UNT. We recognize that this will be
difficult work, and we are prepared to fight for inclusivity now and in the future.




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           EXHIBIT 4

         News from SEM: General News
            Email to a Friend




           Statement of UNT Faculty on Journal of Schenkerian Studies
           Friday, July 31, 2020 (0 Comments)
           Posted by: Stephen Stuempfle
                Share |


           We, the undersigned faculty members of the University of North Texas Division of Music History, Theory, and
           Ethnomusicology, stand in solidarity with our graduate students in their letter of condemnation of the Journal of
           Schenkerian Studies. We wish to stress that we are speaking for ourselves individually and not on behalf of the
           university. The forthcoming issue— a set of responses to Dr. Philip Ewell’s plenary lecture at the 2019 Society for Music
           Theory annual meeting (https://vimeo.com/372726003)—is replete with racial stereotyping and tropes, and includes
           personal attacks directed at Dr. Ewell. To be clear, not all responses contain such egregious material; some were
           thoughtful, and meaningfully addressed and amplified Dr. Ewell’s remarks about systemic racism in the discipline. But
           the epistemic center of the journal issue lies in a racist discourse that has no place in any publication, especially an
           academic journal. The fact that he was not afforded the opportunity to respond in print is unacceptable, as is the lack of
           a clearly defined peer-review process.

           We endorse the call for action outlined in our students’ letter
           (https://drive.google.com/file/d/1PekRT8tr5RXWRTW6Bqdaq57svqBRRcQK/view), which asks that the College of Music
           “publicly condemn the issue and release it freely online to the public” and “provide a full public account of the editorial
           and publication process, and its failures.” Responsible parties must be held appropriately accountable.

           The treatment of Prof. Ewell’s work provides an example of the broader system of oppression built into the academic and
           legal institutions in which our disciplines exist. As faculty at the College of Music we must all take responsibility for not
           only publicly opposing racism in any form, but to address and eliminate systematic racism within our specific disciplines.

           Dr. Ellen Bakulina, Assistant Professor, Music Theory

           Andrew Chung, Ph.D., Assistant Professor, Music Theory

           Dr. Diego Cubero, Assistant Professor, Music Theory

           Steven Friedson, University Distinguished Research Professor, Ethnomusicology/Ethnomusicology Area Coordinator

           Rebecca Dowd Geoffroy-Schwinden, Ph.D., Assistant Professor, Music History

           Benjamin Graf, Ph.D., Senior Lecturer, Music Theory

           Dr. Frank Heidlberger, Professor, Music Theory/Music Theory Area Coordinator

           Bernardo Illari, Associate Professor, Music History

           Dr. Justin Lavacek, Assistant Professor, Music Theory

           Dr. Peter Mondelli, Associate Professor, Music History

           Dr. Margaret Notley, Professor of Music/Coordinator of Music History Area

           Dr. April L. Prince, Principal Lecturer, Music History

           Cathy Ragland, Ph.D., Associate Professor, Ethnomusicology

           Dr. Gillian Robertson, Senior Lecturer, Music Theory

           Dr. Hendrik Schulze, Associate Professor, Music History


                                                                                                                   JACKSON000228


1 of 2                                                                                                                        11/23/2020, 10:15 PM
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           Vivek Virani, Ph.D. Assistant Professor, Ethnomusicology and Music Theory

           Dr. Brian F. Wright Assistant Professor, Music History




           Add Comment


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      EXHIBIT 5




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EXHIBIT 6

Journal of Schenkerian Studies vol. 12 (2019) Call for Papers

The SMT plenary presentation given by Philip Ewell, "Music Theory's White Racial Frame," has
inspired a good deal of debate within the theory community, especially regarding the possible
relationship between Schenkerian methodology and the white racial frame1 (as suggested in the
following quote from Ewell):

         "The best example through which to examine our white frame is through Heinrich Schenker,
         a fervent racist, whose racism undoubtedly influenced his music theory, yet it
         gets whitewashed for general consumption......In his voluminous writings, Schenker often
         mentions white and black as modifiers for human races.....As with the inequality of races,
         Schenker believed in the inequality of tones. Here we begin to see how Schenker's racism
         pervaded his music theories. In short, neither racial classes, nor pitch classes, were equal in
         Schenker's theories. He uses the same language to express these beliefs.....his sentiment is
         clear: blacks must be controlled by whites. Similarly, Schenker believed notes from the
         fundamental structure must control other notes."

As a journal dedicated to Schenkerian studies, we find it important to foster discussion on these
issues. As part of volume 12, we invite interested parties to submit essay responses to Ewell's
paper. The Journal of Schenkerian Studies takes no official stance on the issues addressed by
Ewell, and we hope to publish a variety of thoughts and perspectives. Submissions must adhere
to the following guidelines:

    1. Essays should be 1,000 to 3,000 words in length.
    2. In order to leave sufficient time for editorial work, submissions must observe a strict
       deadline of January 20, 2020.

Any questions or concerns regarding submissions may be directed at the editors
(Schenker@unt.edu).

Please refer to Ewell’s abstract, as well as links to the presentation slides and video recording
(listed below):

                               Music Theory’s White Racial Frame
                   Philip Ewell (Hunter College and The Graduate Center, CUNY)

For over twenty years music theory has tried to diversify with respect to race, yet the field today
remains remarkably white. SMT’s most recent report on demographics shows that 90.4 percent
of full-time employees in music theory are white, while 93.9 percent of associate/full professors
are. Aside from this literal whiteness, there exists a figurative and even more deep-seated
whiteness in music theory. This is the whiteness—which manifests itself in the composers we
choose to represent our field inside and outside of the classroom, and in the theorists that we
elevate to the top of our discipline—that one must practice, regardless of one’s own personal
racial identity, in order to call oneself a music theorist. Thus, for example, I am a black person,

1
 Coined by sociologist Joe Feagin in 2006, the term “white racial frame” refers to the “broad worldview [that is]
essential to the routine legitimation, scripting, and maintenance of systemic racism in the United States.”



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but I am also a practitioner of “white music theory.” In this presentation, a critical-race
examination of the field of music theory, I try to come to terms with music theory’s whiteness,
both literal and figurative. By drawing on the writings of sociologists Joe Feagin and Eduardo
Bonilla-Silva, among others, I posit that there exists a “white racial frame” (Feagin) in music
theory that is structural and institutionalized. Further, I highlight certain racialized structures
which “exist because they benefit members of the dominant white race” (Bonilla-Silva).
Ultimately, I argue that only through a deframing and reframing of this white racial frame will
we begin to see positive racial changes in music theory.


PowerPoint slides: http://philipewell.com/wp-content/uploads/2019/11/SMT-Plenary-Slides.pdf

Video recording: https://vimeo.com/372726003




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